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 STATE OF SOUTH CAROLINA                             IN THE COURT OF COMMON PLEAS
                                                          FIRST JUDICIAL CIRCUIT
 COUNTY OF ORANGEBURG                                     Case No. 2022-CP-38-


 Jarvis Logan,

                           Plaintiff,                               SUMMONS

         vs.

 Holcim (U.S.), Inc.; Claudio Butkus;
 Sheetalnath Mahalungkar; K&G Industrial
 Services, LLC; John Doe and John Doe
 Corporation,

                           Defendants.

TO:     DEFENDANTS ABOVE-NAMED:


        YOU ARE HEREBY SUMMONED and required to answer the Complaint in this action,

of which a copy is herewith served upon you, and to serve a copy of your Answer to the said

Complaint on the subscriber at 1281 Russell Street, Orangeburg, SC 29115 within thirty (30) days

after the service hereof, exclusive of the day of such service; and if you fail to answer the

Complaint within the time aforesaid, the Plaintiff in this action will apply to the Court for the relief

demanded in the Complaint and judgment by default will be rendered against you for the relief

demanded in the Complaint.
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                                              WILLIAMS & WILLIAMS


                                    By:       s/ J. Andrew Delaney
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 STATE OF SOUTH CAROLINA                            IN THE COURT OF COMMON PLEAS
                                                         FIRST JUDICIAL CIRCUIT
 COUNTY OF ORANGEBURG                                    Case No. 2022-CP-38-

 Jarvis Logan,

                           Plaintiff,                           COMPLAINT
                                                            (Jury Trial Demanded)
          vs.

 Holcim (U.S.), Inc.; Claudio Butkus;
 Sheetalnath Mahalungkar; K&G Industrial
 Services, LLC; John Doe and John Doe
 Corporation,

                           Defendants.

         Plaintiff, above-named, complaining of Defendants herein, would allege and show to the

Court the following:

    1.     Plaintiff is a citizen and resident of the County of Calhoun, State of South Carolina.

    2.     This suit arises out of an incident that occurred on August 6, 2019, in Orangeburg

           County, South Carolina wherein Plaintiff was injured while working as a third-party

           contractor at a cement plant owned, operated and maintained by Defendant Holcim

           (U.S.), Inc. (hereinafter “Holcim”) when an employee of Defendant K&G Industrial

           Services, LLC (hereinafter “K&G”) was performing work above Plaintiff and knocked

           loose a lump of clinker buildup that fell onto Plaintiff’s head and neck.

    3.     Upon information and belief, Holcim is a Delaware corporation with its principal place

           of business in the state of Illinois. Holcim owns and operates the subject cement plant

           in Orangeburg County at the address of 200 Safety Street, Holly Hill, SC 29059

           (“Holcim Plant”) and employs hundreds of workers at this location. The Holcim Plant’s

           sole business purpose and trade is the surface mining of limestone and the production

           of cement.
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4.   Upon information and belief, Holcim is the largest cement producer in the United States.

     At its Orangeburg county location, Holcim produces over 2.2 million metric tons of

     cement per, Holcim derives substantial revenues from mining, producing, and selling

     cement and related products and materials in the State of South Carolina.

5.   Defendant Holcim has a long, extensive history of sub-standard safety and health

     conditions at the Holcim Plant.

6.   At all times relevant to this matter, Holcim was acting by and through its respective

     employees, apparent agents, agents, officers, and servants, including Co-Defendant

     Butkus and Co-Defendant Mahalungkar who were acting within the course and scope

     of their employment, agency, and/or contractual or other relationship and/or authority.

7.   Upon information and belief, Defendant Butkus was a resident of Dorchester County,

     South Carolina at the time of incident complained of herein. At all times, relevant to

     this matter, Defendant Butkus as the Plant Manager of the Holcim Plant in Orangeburg

     County and was responsible for supervising, managing, and overseeing Holcim’s

     personnel and ensuring that the plant was being operated in a reasonably safe manner,

     adhering to all applicable industry safety standards pertaining to cement plants and other

     large industrial operations, including those applicable to the safety of third-party

     contractors. Upon information and belief, Defendant Butkus had the power and

     authority to manage, direct, superintend, restrict, regulate, govern, administer, or

     oversee the management of Defendant Holcim’s property and business.

8.   Upon information and belief, Defendant Mahalungkar was a resident of Charleston

     County, South Carolina at the time of incident complained of herein. At all times

     relevant to this matter, Defendant Mahalungkar was the Maintenance Manager at the
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      Holcim Plant in Orangeburg County. Defendant Mahalungkar was the Maintenance

      Manager at the Holcim Plant in Orangeburg County. Defendant Mahalungkar was, upon

      information and belief, responsible for supervising and training certain maintenance

      personnel at the Holcim Plant, and he held duties and responsibilities related to the safety

      of third-party contractors, including Plaintiff. Upon information and belief, Defendant

      Butkus had the power and authority to manage, direct, superintend, restrict, regulate,

      govern, administer, or oversee maintenance personnel and the premises wherein such

      personnel were working.

9.    Upon information and belief, Defendant K&G is an Alabama corporation with its

      principal place of business in the state of Alabama. Defendant K&G was performing

      refractory and industrial maintenance at the Holcim Plant cement plant in Orangeburg

      County at the address of 200 Safety Street, Holly Hill, SC 29059 (“Holcim Plant”).

10.   Upon information and belief, John Doe is a citizen and resident of Orangeburg County,

      South Carolina, an employee of Defendant K&G, and at the time of the occurrence

      referenced herein, was working at the Holcim Plant, performing work in the clinker

      cooler above where Plaintiff was working.

11.   Upon information and belief, Defendant John Doe Corporation is a refractory and

      industrial maintenance company providing services in Orangeburg, South Carolina.

      Defendant Doe Corporation was performing refractory and industrial maintenance at

      the Holcim Plant cement plant in Orangeburg County at the address of 200 Safety Street,

      Holly Hill, SC 29059 (“Holcim Plant”).

12.   Venue is proper in Orangeburg County, South Carolina.
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                                  FACTUAL BACKGROUND

13.   At all times relevant herein, Plaintiff was employed by Custom Quality Scaffolding

      (CQS), a subsidiary of MacAljon/SCL Inc.

14.   Defendant Holcim hired CQS to erect and then dismantle scaffolding at its Holcim Plant

      so that maintenance could be completed at the Holcim Plant.

15.   Defendant Holcim hired Defendant K&G to perform maintenance and refractory

      services at its facility.

16.   CQS providing scaffolding that Defendant K&G used to perform maintenance and

      refractory services at the Holcim Plant.

17.   On or about August 6, 2019, Plaintiff was dismantling scaffolding inside a clinker

      cooler at the Holcim Plant.

18.   Despite knowledge that CQS and, specifically Plaintiff, were dismantling scaffolding

      directly below them, Defendant K&G and its employees continued its maintenance and

      refractory services.

19.   An employee of the Defendants dislodged a lump of clinker buildup and it fell from

      above striking the Plaintiff in his head and neck.

20.   As a result of Defendants’ negligence, recklessness, carelessness, willfulness,

      wantonness, and gross negligence, Plaintiff received serious and permanent injuries

      resulting in both suffering medical care, medical expenses, severe excruciating pain, and

      serious, permanent injuries which have and will in the future cause each to endure great

      physical pain, suffering, mental anguish, emotional distress, and ultimately cause

      Plaintiff to incur future medical bills and wage loss.
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                           FOR A FIRST CAUSE OF ACTION
                             (Negligence/Negligence per Se)

21. Plaintiff re-alleges and reiterates the allegations set forth in the previous paragraphs as

      if set out herein verbatim.

22. Defendants owed Plaintiff a duty of care to discovery certain latent and known dangers

      and to take safety precautions to warn of or eliminate unreasonable risks.

23. Defendants had an obligation to provide Plaintiff with a reasonably safe work

      environment, free of unnecessary risks and hazards, and had a duty to maintain the

      premises in a reasonably prudent manner for its invitees such as Plaintiff.

24.   Defendants knew of or should have known of the inherent dangers of performing

      maintenance and refractory services from an elevated position while workers like

      Plaintiff were working below.

25.   Defendants failed to inform Plaintiff that Defendant K&G was continuing to work above

      him as Plaintiff was dismantling scaffolding below.

26.   Defendants failed to prepare the premises and make it reasonably safe for Plaintiff to

      perform his work in dismantling the scaffolding.

27.   Upon information and belief, there were no verbal or written warnings issued by

      Defendants to make Defendants’ employees aware of Plaintiff’s work below them.

28.   Upon information and belief, Defendants had no applicable policy or procedure to block

      or limit access to the area below where Plaintiff was working while Defendants’

      employees worked above.
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29.   Plaintiff was not informed or aware of the lack of safety precautions taken by

      Defendants and had a right to rely on their representations that his work would be

      completed in a safe, reasonable manner and that the premises where Plaintiff was

      working would be maintained and secured so as to promote and ensure his safety.

30.   Defendants knew of or should have anticipated the physical harm that could be caused

      by allowing maintenance and refractory services to be performed from above while

      Plaintiff was working below.

31.   At the time and place mentioned above, Defendants were negligent, reckless, willful and

      wanton, in one or more of the following particulars, to wit:

       a. In failing to use reasonable care to inspect and discover hidden dangerous

           conditions on Defendant Holcim’s property;

       b. In failing to warn Plaintiff about the dangerous working conditions on Defendant

           Holcim’s property;

       c. In failing to take any steps to eliminate or restrict access to the area below while

           Defendants worked above;

       d. In failing to take any steps to eliminate or restrict access to the area above while

           Plaintiff worked below;

       e. In failing to take appropriate safety measures to ensure that Plaintiff could safely

           perform his work in dismantling the scaffolding without the risk of serious injury;

       f. In failing to abide by state and federal regulations pertaining to safety conditions

           at Holcim Plant;
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       g. The failure by Defendants Holcim, Butkus and/or Mahalungkar to adequately train

           and/or supervise its employees or third-party contractors with respect to

           appropriate safety measures;

       h. The failure by Defendants Holcim, Butkus and/or Mahalungkar to establish

           policies, protocols or procedures regarding the proper sequencing and scheduling

           of maintenance work by its employees and worker and third-party contractors;

       i. In failing to exercise the degree of care that a reasonably prudent company would

           have exercised under the same or similar circumstances;

       j. In such other and further particulars that the evidence in trial may show.

32.   Defendant Holcim is vicariously liable for the acts and omissions of its employees under

      the common law and statutory theories of contractor/subcontractor, respondeat superior,

      agency and master/servant liability.

33.   Defendant K&G is vicariously liable for the acts and omissions of its employees under

      the common law and statutory theories of contractor/subcontractor, respondeat superior,

      agency and master/servant liability

34.   By reason and in consequence of Defendants’ conduct, Plaintiff has sustained severe

      and permanent injuries to various parts of his body and these injuries were of such a

      nature so as to require him to expend monies, seek doctors’ care, and incur other medical

      necessities. Plaintiff has suffered and will continue to suffer great pain, humiliation and

      mental anguish.

35.   All of which combined and concurred as a direct and proximate cause of the injuries and

      damages sustained by Plaintiff herein, said acts being in violation of the statutes and

      laws of the State of South Carolina.
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    36.   Plaintiff is informed and believes that he is entitled to actual damages in an amount

          which would adequately compensate him for his injuries and damages as well as for

          reasonable punitive damages as may be determined by the trier in fact.

       WHEREFORE, Plaintiff prays for judgment against Defendants for actual damages and

for punitive damages as may be determined by the trier of fact, the cost of this action and for such

other and further relief as this Court may deem just and proper.



                                                     WILLIAMS & WILLIAMS


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